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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF PUERTO RICO



PUERTO RICO TELEPHONE                    )
COMPANY, INC.,                           )
                                         )
             Plaintiff,                  )
      v.                                 ) CIVIL NO. 3:11-cv-02135-JAW
                                         )
SAN JUAN CABLE COMPANY LLC               )
d/b/a ONELINK COMMUNICATIONS,            )
                                         )
             Defendant.                  )

                                     JUDGMENT

      Pursuant to the Order Granting in Part and Denying in Part Defendant’s First

Motion for Summary Judgment (ECF No. 323) and the Order Denying Plaintiff’s

Motion for Summary Judgment and Granting Defendant’s Cross Motion for Summary

Judgment (ECF No. 324) entered by the Court on July 25, 2016;

             JUDGMENT for the Defendant against the Plaintiff is hereby entered.




                                           JOHN A. WOODCOCK, JR.
                                           U.S. DISTRICT JUDGE



                                           By: /s/Jennifer L. Gray
                                               Deputy Clerk
Dated this 28th day of July, 2016.
